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                                  JS-0005
                              
                        
          
        
      
    
  

  

  
    
      JS-0005
              John Scott
                  
        Categories
                        
Counties and County Commissioners Courts
              , 
Budget and Finance
              , 
County Funds
              , 
Budget and Finance
              , 
Sheriffs and Constables
              , 
Authority and Duties
        
      
            
                  Summary
                      A court would likely conclude that: (1) the acquisition of a vehicle dedicated to transporting inmates to and from medical and mental health appointments is a permissible use of commissary funds under Local Government Code subsection 351.0415(c)(5); and (2) a sheriff has authority to expend commissary funds without first seeking the approval of the commissioners court. Whether a commissioners court may use money from the general fund to pay insurance and maintenance costs on a vehicle depends on whether the expenditure is provided in the budget. Local Government Code subsection 263.152(a)(1) applies to county-owned property.
      
                          
            Opinion File
                         js-0005.pdf 

      
          
                
        
      
    

          
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    RQ-0494-KP

      
  
                January 03, 2023

      
  
      
      
        Request PDF
                     RQ0494KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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